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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA:

Docket No. 1:07cr1381- 01
Vv.

JAMES BECTON

Defendant

DEFENDANT’S SUPPLEMENTAL MEMORANDUM

JAMES BECTON, through counsel, hereby files this Supplemental
Memorandum regarding the application of 18 U.S.C. §3582(c)(2) to his case
pursuant to this Court’s Memorandum Opinion and Order of 23 October
2020.
I. Background

Mr. Becton was indicted, tried, and convicted for a conspiracy under 21
U.S.C. §846 to violate 21 U.S.C. §841(a)(1) and (b)(1)(A)(ii) and (iii). He also
received an enhancement under 21 U.S.C. §851. The conspiracy count in his
indictment charged an agreement to distribute and to possess with intent to
distribute cocaine base, cocaine, and cannabis. Other, separate counts of the
indictment charged individual sales and there were a series of counts
charging unlawful use of a communication facility. A multiple drug
conspiracy was charged in one unified count. Mr. Becton was convicted by a

jury of the multiple drug conspiracy in count one and of various other counts.
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He was sentenced on 5 February 2009 after the Court resolved various
objections and Guideline issues. Mr. Becton received a sentence of 300
months for the multiple drug conspiracy in count one. That sentence was
based on a Guideline calculation which included an Offense Level of 30 after
a finding that he distributed between 3.5 and 5 kilos of cocaine; a two level
increase for a weapons charges; and a four level increase for a leadership role.
The total Guideline calculation was Level 36. His Criminal History was V. A
1992 conviction for “attempted” possession of cocaine with intent to
distribute, which was set aside and for which he was unconditionally
discharged, added one point to the Criminal History calculation making it 10
and not 9. See PSR paras. 108(a) and 114. That Guideline score yielded a
Guideline sentencing range of 292 to 365 months.

Although convicted and sentenced for a conspiracy that included the
distribution of and possession with intent to distribute cocaine base, the
Guideline sentence was actually calculated on the drug weight of cocaine
powder, not cocaine base. Sentences on the other counts were 96 months for
each to run concurrently with the 300 month sentence in count one. The 300
months sentence exceeded the mandatory minimum of 20 years required

under 21 U.S.C. §841(b)(1)(B) per 21 U.S.C. §851.
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After Mr. Becton filed his Motion for relief seeking a resentencing
under the First Step Act and an amended sentence under 18 U.S.C.
§3582(c)(2) on 23 April 2020, a briefing schedule was ordered. The
prosecution filed their response on 1 May 2020 and the defense reply was
filed on 7 May 2020.

This Court denied relief in an Opinion and Order of 23 October 2020.
The Court found that, although Mr. Becton was charged with, convicted of,
and sentenced for a conspiracy which included intent to distribute and to
possess with intent to distribute cocaine base in violation of 21 U.S.C. §841
(b)(1)(B)Gi1), he was not eligible for consideration under the First Step Act
because the sentence (imposed on him for the conspiracy) was based on the
cocaine powder for which he was accountable, rather than the cocaine base
part of the conspiracy. See Opinion at 5, 6. Eligibility was tied to the statute
on which the penalty was calculated rather than all of the statutes of
conviction. Jd. That Opinion principally relied on the 2019 decision in
United States v. White, 413 F.Supp.3d 15 (D.D.C. 2019). In that case, the
Court held that “In fact, assessing eligibility based on the ‘actual’ statutory
violation for which a sentence was imposed is more consistent with an ‘actual’

violation here” in the statute. Jd. at ** 44.
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The White decision is now on appeal and pending a decision by the
United States Court of Appeals for the District of Columbia in Case No. 19-
3058. It was the subject of oral argument on 15 October 2020. Prior to oral
argument, the government filed with the Court of Appeals a letter pursuant
to Rule 28G) of the Federal Rules of Appellate Procedure. (See Attachment A
- letter of 5 October 2020.) In their letter the government changed its
position on eligibility for relief under the First Step Act. Their change in
position was, as the letter states, based on a revised policy in the Department
of Justice which evolved from a decision in the Eleventh Circuit Court of
Appeals in United States v. Jones, 962 F.3d 1290 (11th Cir. 2020).

Jones held that eligibility for consideration under the First Step Act
depends on the offense conduct as shown in the charging document, jury
verdict, sentencing record, and final judgment. Jd. at 1300, 1301. That court
went on to hold that a finding of relevant conduct, such as drug weight for
sentencing, is not relevant to a determination of eligibility under that Act.

Id. at 1801. Drug quantity, which affects or even controls sentencing, does

not affect the determination of whether a defendant is eligible under the Act.
If he was actually convicted of and sentenced for a covered offense, such as 21
U.S.C. §841(b)(1)(B)Gii) in this case, then he is eligible. Jd. At oral argument

in the Court of Appeals in the White case, the government purportedly

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conceded that Mr. White was convicted and sentenced for a covered offense,
regardless of which drug or conduct drove the Guideline calculations and the
actual sentence imposed. The key to eligibility, according to the revised
policy, appears to be is whether there is a conviction for an offense which is a
“covered offense” even if Guideline calculations from another offense
determined the penalty imposed. That would be consistent with the holding
in Jones, supra. The government, in White, maintained, nonetheless, that it
was not appropriate for the district court to exercise its discretion to reduce
Mr. White’s sentence, eligibility notwithstanding. There has yet to bea
decision by the Court of Appeals in White.

This is not offered to quarrel with this Honorable Court; rather, it is
intended to update this Court on the status of the White case, as counsel
knows it at this time. Were the decision in the appeal of the White case to
adopt United States v. Jones, supra, Mr. Becton, in that circumstance, would
be eligible under the First Step Act for imposition of a reduced sentence.
Frist Step Act §404(b), 1382 Stat. at 522. In that event, Mr. Becton would

request leave of Court to address the impact of such a decision on his case.
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Il, 18U.S.C. §3582(c)(2) and the Amendment to F.S.G. §2D1.1

In the Opinion and Order, this Honorable Court offered the defense an
opportunity to file a supplemental memorandum expanding its position in its
Motion on the application of 18 U.S.C. §3582(c)(2) to this case. This
Memorandum offers that expansion on behalf of Mr. Becton. According to
§3582(c)(2), district courts are authorized to modify a sentence previously
imposed if it was imposed based on a Guideline which has since been changed
by the Sentencing Commission pursuant to 28 U.S.C. §994(0). The
Sentencing Commission, in Amendment 782 in 2014, amended the cocaine
powder Guideline on which this sentence was based pursuant to 28 U.S.C.
§994(0). The amendment is applicable retroactively. U.S. Sentencing
Guidelines Manual §1B1.16(d) (U.S. Sentencing Commission 2018). That
amendment reduced the Guideline Offense Level on which Mr. Becton’s
sentence was calculated by two levels. According to the recent Report from
Probation, the reduction lowers the calculation by 57 months.

At the time of sentencing, F.S.G. §2D1.1(c)(5), the applicable drug
Guideline, assigned a Level 30 to more than 3.5, but less than 5 kilograms of
cocaine powder. At his sentencing the Court specifically found that Mr.
Becton was to be held accountable for between 3.5 and 5 kilograms of cocaine

powder. (Sent. Tran. at 4). The amount of cocaine base was found to be

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between 0 and 5 grams. (Sent. Tran. at 8). Powder cocaine, therefore, drove
the sentence calculation even though there were three drugs - cocaine
powder, cocaine base, and marijuana - involved in the conspiracy for which he
was convicted and sentenced. Pursuant to F.S.G.§2D1.1(c)(5) the powder
cocaine weight, as said above, placed Mr. Becton’s base Offense Level at level
30. Two more levels were added for a weapon per §2D1.1(b)(2), and four more
for a leadership role per §3B1.1(a). His total Offense Level was determined
to be level 36. His Criminal History was calculated to be V resulting in a
Guideline recommended sentencing range of 292 to 365 months. He was
sentenced to 300 months for the multiple drug conspiracy in count one and to
90 months for each of the other counts, to run concurrently with the sentence
for count one. The total sentence exceeded the then existing enhanced
mandatory minimum.

In April 2014 the Federal Sentencing Commission, pursuant to 28
U.S.C. §994(0), proposed Amendment 782 to the Guidelines and it was
accepted. Asa result of that Amendment, more than 3.5 but less than 5
kilograms of cocaine powder was removed from F.S.G.§2D1.1(c)(5) and was
placed in F.S.G.§2D1.1(c)(6). That changed the Guideline Offense Level to 28
from 30. There is now a two level reduction in Mr. Becton’s drug quantity

base Offense Level under the Guidelines as Amended. Level 28 results in a

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total Guideline level of 34 after adding the two level adjustment for a weapon
per F.S.G. §2D1.1(b)(2), and four levels for role in the offense per F.S.G.
§3B1.1(a). A level 34 offense, with a Criminal History of V, yields a Guideline
recommended sentencing range of 235 to 292 months. In the initial Pre-
Sentence Report the Criminal History points were scored at 9. PSR para.114.
His 1992 attempted possession did not then give him an additional point.
PSR para.108a. Later, that one point was added, resulting in a score of 10
with a Criminal History of V. That juvenile diversion of a 1992 offense of
“attempted” possession with intent under the Youth Act overstates his
criminal history. He was a youth and that case was an inchoate offense
which is not the same as an actual possession with intent to distribute or
actual distributions. See, Attachment B — final disposition.

That one point is the difference between a Criminal History of IV and
V. At his age, in 1992, his physical brain was not fully developed and his
responsibility was not at the same level as a male over 22 years of age.
Young girls, unlike young boys, develop their physical brain at an earlier age
and have more maturity and self-control than do males. See, e.g., Thompson
v. Oklahoma, 487 U.S. 815, 834-37 (1988); Roper v. Simmons, 543 U.S. 551
(2005). To be sure, this is a matter of this Court’s discretion, but to exercise

that discretion would, it is respectfully suggested, be appropriate in this case

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if a resentencing is to take place. It is also suggested that informing this
decision ought to be the fact that Mr. Becton is in a prison environment
where his susceptibility to COVID-19 is higher than it is for inmates in
otherwise good health. The outcome of COVID-19 for him would likely be
fatal given his compromised immune system, anemia, asthma, and ulcerative
colitis.

A high-end sentence under the today’s applicable Guidelines would
yield a sentence that is less than the 300 months for which he was originally
sentenced. A high-end sentence, however, was not found by his sentencing
Court to be appropriate for him in February 2009 and respectfully, would not
be appropriate now. The recent PSR of 7 December 2020 also notes that a
low-end sentence is required.

During his 2009 sentencing hearing, the Court correctly recognized
that Mr. Becton was engaged in street level activity. He was not a large
quantity, wholesale distributor. His was not a major, large scale or large
geographic area operation. He was basically a neighborhood street dealer.
Not that he did not do wrong, but he was small-time, as the Court correctly
found in 2009. Now, in 2020, he is over 46 years old, continues to suffer from
asthma, and has a compromised immune system due to medication he must

take. Asthmatics do not stand up well to COVID-19. Those witha

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compromised immune system are more vulnerable to COVID-19 than are
others. As a prison inmate, he is at significant risk at this time.

After James Becton was charged in May 2007, he served 21 months
custody in the close confines of jail before sentencing in February 2009. That
is tough time. His mandatory minimum sentence under the 21 U.S.C. §851
enhancement for the violation of 21 U.S.C. §841(b)(1)(A)(ii) was then 20
years, but it is now lower, having been reduced by Congress. The 7 December
2020 PSR at 3 notes he now has a 120-month mandatory minimum. He has
served approximately 13 years of his total sentence at this point in time.
Given the changes in drug sentencing law through the Fair Sentencing Act
and the First Step Act, as well as the Amendments to the Guidelines such as
Amendment 782, it is clear that Congress and the Commission intend that
sentences, such as in this case, be reduced.

The language of 18 U.S.C. §3582 (c)(2) is plain and clear. If the
Sentencing Commission, pursuant to 28 U.S.C. §994(0), has lowered the
Guideline sentencing range on which a defendant was previously sentenced —
as occurred here — then “the court may reduce the term of imprisonment,
after considering the factors set forth in section 3553(a) ....” This may be
done on the motion of the defendant. Mr. Becton has filed such a motion. It

is hoped that this Supplemental Memorandum has brought clarity to his

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request. This Court is asked to exercise its authority and resentence Mr.
Becton under the current law.
III. The §3553(a) Factors

A cardinal purpose of 18 U.S.C. §3553(a) was to even out sentences
using a common set of factors. Its goal is not a heavy-handed, long term
sentence as evidenced by the very first sentencing consideration mentioned in
this statute. A guiding principle for sentencing under §3553(a) is that a
sentence should not be greater than necessary to comply with the four factors
in sub-section (2). Current Congressional and Commission intent that
sentences previously imposed under the former drug Guidelines and statutes
be reduced and, thus, are not greater than necessary is clear from the Fair
Sentencing Act and the First Step Act, as well as Amendment 782, and their
retroactive application. This Court is respectfully asked to amend Mr.
Becton’s sentence using the current, new Guidelines and statutory
amendments. That would not only be consistent with the apparent intent of
Congress and the Commission but it would also be in line with the current
nationwide recognition that the drug war’s harsh, long sentences are not

producing beneficial results. A new sentence is consistent with the goals and

intent of §3553(a).

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Under §3553(a)(2)(A), a just punishment which promotes respect for
the law would be a new sentence under the current Guidelines and statute.
Congress and most of the legal and political community involved with
criminal drug law has come to recognize that our national infatuation with
long, draconian sentences in drug cases is counterproductive to the goal of
reducing drug abuse. The understanding on both a federal and state level
that the initiation of drug courts and that alternative as well as lesser
sentences are better suited to achieve successful results for our drug problem
shows the shift to what works in actuality and the rejection of a policy that
has not been shown to achieve its objective. This movement away from long
prison sentences as the magic cure to our problem is what the retroactive
changes intended to achieve. A telling example of how the shift away from
long sentences is more effective is how Texas and New York both reduced,
significantly, their rate of recidivism and their prison populations by
reducing penalties for drug offenses. Other states are following suit, but
Texas and New York were, as unlikely as some might think, the first. They
made a practical decision and they have seen the benefit of the changes.

The goal of §(2)(B) is adequate deterrence. That goal has not been
realized by the use of extremely long sentences. Such sentences have not

proven to be a success in this regard. While the United States has only 5% of

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the world’s population, we have 25% of the world’s prison population. Drug
offenses account for a significant portion of our very large prison population.
Had long incarceration been the magic panacea touted by many as a
deterrence, our drug problem would be long gone, but it is not. Empirically,
shorter sentences followed by post release help, counseling, and monitoring
have, in practical terms, proven to be more effective.

In actuality, one of the more proven deterrents with established
effectiveness is the guarantee of being caught. During holiday seasons, for
example, when roadblocks and intense enforcement is publicized, the
incidence of DWIs goes down. It is the likelihood of being caught rather than
the severity of the penalty that effectively deters. Once caught, it has been
shown that treatment, counseling, and shorter sentences bring better results
than long-term confinement. The approach of moving away from imposing
decades of incarceration has been shown to reduce recidivism and benefit
society.

Subsection (2)(C) focuses on protecting the public from future crimes of
a defendant, but James Becton, is now over 46 years of age. Of equal
importance is his ill health. He has asthma and a compromised immune

system. After 13 years in prison and given his current health he does not

poses a danger to the public of going back to his old ways on the street. His

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medical situation places him at serious risk as an inmate in this Pandemic.
We average 200,000 new cases a day and approximately 3,000 deaths per
day. Even with the existence of vaccines, this will not abate until the middle
of 2021 at the earliest and according to many experts it will be much later.
Importantly, in these times of COVID-19, §(2)(D) would support his
resentencing under the current law. Asthmatics and those with compromised
immune systems do not fare well with COVID-19. In addition to the asthma
he has ulcerative colitis, which requires him to take a medication called
Mesalamine three times daily. That medication suppresses his immune
system, making him more vulnerable. In addition to these conditions, he also
suffers from anemia. Individuals in his medical status are more prone to
contracting COVID-19 than others in the general population. There is a
much more serious risk to those in the close confines of prison than in the
general population. Prisons are an incubator, and testing in that system
cannot be as consistent nor sufficiently widespread as it ought to be due to
the nature of prison itself. There are natural problems in controlling this
Pandemic in a prison which are inherent in what it takes to operate a prison.
That is not a matter of fault, but it is a matter of practicality. As the Country

is in the throes of a massive resurgence, Mr. Becton’s risk factor has gone up.

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As was recognized and stated at the original sentencing, this is not the
case of a major drug lord or kingpin. He did wrong, has paid a serious price
(13 years is no small thing), is older, at 46, and in ill health. Amending Mr.
Becton’s sentence is compatible with the public interest, as evidenced by how
the Country has shifted gears away from long terms of massive incarceration
for decades as a way to better solve our drug problem. Applying the new
Guidelines and statutory provisions as a starting point is consistent with
Congressional intent, as well as the national recognition that long harsh
sentences are not the solution to our drug problem. Many recognize that
such long sentences are counter-productive. Amending Mr. Becton’s sentence
would provide Mr. Becton with a chance at a better future and help avoid a
potentially devastating illness. A reasonable amended sentence would be
fair, just, and compatible with the goals of sentencing. It would also better
protect his health. His current Guidelines with a Criminal History of V are
235 to 293 months. Were his Criminal History reduced by the one point, to
IV, his Guidelines would be 210 to 262 months. His current mandatory
minimum has also been amended and reduced. An amended sentence,
limited to the bottom of the amended Guideline range, would be fair, would

comply with the intent of Congress and the Commission, and would promote

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respect for the law. This Honorable Court is asked to exercise its authority

and discretion to give James Becton an amended, reduced sentence.

JAMES BECTON
By Counsel
{S/
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CERTIFICATE OF SERVICE

I hereby certify that on the 23rd day of December 2020, I will
electronically file the foregoing with the Clerk of Court using the CM/ECF
system, sending a notification of such filing to the Office of the US Attorney.

{S/
MARVIN D. MILLER

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U.S. Department of Justice

Michael R. Sherwin
Acting United States Attorney

District of Columbia

Judiciary Center
555 Fourth St, NW.
Washington, D.C. 20530

October 5, 2020

Mark J. Langer, Clerk

United States Court of Appeals for
the District of Columbia Circuit
333 Constitution Ave., NW
Washington, D.C. 20001

Re: United States v. Antone White, No. 19-3058
United States v. Eric Hicks, No. 19-3059
Panel: Judges Tatel, Garland, Edwards
Oral Argument Scheduled: October 15, 2020

Dear Mr. Langer:

On October 1, 2020, the Department of Justice issued revised guidance regarding the
appropriate interpretation of Section 404(a) of the First Step Act of 2018. Consistent with the
Eleventh Circuit’s construction of that provision in United States v. Jones, 962 F.3d 1290 (11th
Cir. 2020), the government’s revised position is that the term “covered offense,” as defined in
Section 404(a), refers to any pre-Fair Sentencing Act violation of 21 U.S.C. §§ 841(b)(1 )(A)(iii),
841(b)(1)(B)(iii), 960(b)(1)(C), or 960(b)(2)(C).

While we argued in our brief (at pages 40-43), pursuant to prior DOJ policy, that Counts
1, 5, and 18 were not “covered offenses,” the revised policy instructs us to withdraw that argument,
and we now concede that appellants’ offenses were “covered offenses.” We do not agree with the
district court that relief was unavailable to appellants under Section 404(b) because of the actual
quantity of crack cocaine involved in their offenses; as we explain (at page 56 n.22), the position
of the Department of Justice is that Section 404(b) contemplates determination of the statutory
penalty range based on the quantity of crack cocaine reflected in the jury verdict or admitted by
the defendant in a guilty plea. However, for the reasons discussed on pages 32-40 of our brief, we
continue to defend the district court’s alternative ruling that, assuming relief were available, the
court would exercise its discretion to deny sentence reductions in light of the 18 U.S.C. § 3553(a)
factors.
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Sincerely,

Michael R. Sherwin
Acting United States Attorney

By: /s/
Elizabeth Gabriel
Assistant United States Attorney

